Case 2:23-cv-09991-SVW-ADS Document 1-1 Filed 11/24/23 Page 1 of 3 Page ID #:12




               District Court of the United States

                                       for the
                                                                             NOV 24 2023
                    Central District of California
                                                                                     rsm




                                              )
 Kristen Michelle Lee Joseph,                 )
 Plaintiff                                    )    2:23-CV-09991-SVW-E
          v.                                  )
 Los Angeles County, Superior Court           )
                                              )
                                              )   Civil Action No.:
 of California in the County of Los
                                              )
 Angeles, Housing is Key, United States and   )
                                              )
 California Grant Program, Department of      )
                                              )   Please see all relevant State Actions:
 Children and Families of Los Angeles,        )
                                              )
 Anthony Holguin, Claudia Holguin, Louis      )   Holguin v. Joseph Case#:23NWUD00203
                                              )
 Corrado,     and    Unknown      Owners,     )   Joseph V. Holguin Case #: 23NWCV03216
                                              )
 Defendants                                       Federal Class Action: 2:23-CV-08320-SVW-
                                              )
                                              )   E
        v.
                                              )
 A Port commonly known as 5434                    California 2nd District Court of Appeal:
                                              )
                                              )   B333039
 PremierF Avenue         in    Lakewood
                                              )
                                              )
 California    and    Cargo,    and    the        In re Wrigley J. Case#:21CCJP00852A
                                              )
 Vessel       commonly        known     as    )

 “Wrigley      Joseph”        under    the

 Citizenship of the United States,

 Defendants
Case 2:23-cv-09991-SVW-ADS Document 1-1 Filed 11/24/23 Page 2 of 3 Page ID #:13




                                         COVER SHEET




 This is a Matter of Admiralty
 Plaintiffs address and contact is below
 Most parties, if not all of them are in Los Angeles County.
 Plaintiff is a Citizen of both California and the United States, but is naturalizing and would like
 dejure naturalization status for this case.
 Defendants are           1. A county of California Municipal Corporation
                          2. a State/Federally funded entity
                          3. State Agencies
                          4. Two citizens
                          5. Unknown Persons
                          6. Plaintiffs biological son as a Vessel
                          7. Plaintiffs rental house as a Port.

 This is an original proceeding.
 I am demanding a jury trial if this cannot be dealt with in equity.
 This is an action in garnishment in Admiralty.
 There are four causes of action one of which is based on City of v. Shelby which amounts to
 notice pleading as per FRCP Rule 8 for notice pleadings.

 The Proper Venue Appears to be the Western Division, but I will let the court sort that you.

 A similar case was dismissed, this is a re-pleading of that case.

 I am not aware of any other related cases.

 This case deals with a forfeiture matter.
        It arises from a closely related transaction
        This case calls for a determination of a similar question of law and fact.
        It involves matters that would have duplication of labor by different judges.



                                       Respectfully Submitted,
Case 2:23-cv-09991-SVW-ADS Document 1-1 Filed 11/24/23 Page 3 of 3 Page ID #:14




 Date _________
                                By: _________________________________________________
                                                ____________________________

                                        Kristen Michelle Lee Joseph
                                        5434 Premiere Avenue
                                        Lakewood California [90712]
                                        mommyandwrigley@gmail.com
                                        Tel. (562) 314-8111
                                        Self Represented



                                             Verification

 I declare under penalty of perjury that the foregoing is true and correct.



 Date _________
                                By: _________________________________________________
                                         ___________________________

                                        Kristen Michelle Lee Joseph
                                        5434 Premiere Avenue
                                        Lakewood California [90712]
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                                        Tel. (562) 314-8111
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